Case 4:17-cv-00454-GKF-JFJ                 Document 201 Filed in USDC ND/OK on 11/09/18                   Page 1 of
                                                       7


                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                              Plaintiff,
   v.                                                         CASE NO. 17-CV-00454-GKF-JFJ

   CASTLE HILL STUDIOS LLC, et al.

                              Defendants.

                     DEFENDANTS’ MOTION TO STRIKE JURY DEMAND

           Defendants, Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

   Development LLC (collectively, “CHG” or “Defendants”), hereby move for an order striking

   Plaintiff’s jury demand in this action. Having withdrawn all claims for legal damages in this action,

   Plaintiff has no right to a jury. Plaintiff’s remaining claims are purely equitable – not legal – in

   nature. Equitable claims are tried to the Court, not to a jury. Accordingly, the Court should strike

   Plaintiff’s jury demand.

   I.      BACKGROUND

           In its First Amended Complaint, Plaintiff Video Gaming Technologies, Inc. (“VGT”)

   asserted claims for: (1) trademark infringement, trade dress infringement, and unfair competition in

   violation of Sections 32 and 43(a) of the Federal Trademark Act (the “Lanham Act”), 15 U.S.C. §§

   1114 and 1125(a) (Counts I & II), Oklahoma state law, Okla. Stat. Ann. tit. 78, § 51-56 (the

   “Oklahoma Deceptive Trade Practices Act”) (Count III) and Oklahoma common law (Count IV);

   (2) misappropriation of trade secrets in violation of Oklahoma state law, Okla. Stat. Ann. tit. 78, §§

   85-94 (the “Oklahoma Uniform Trade Secrets Act”) (Count V); (3) misappropriation of confidential

   business information in violation of Oklahoma common law (Count VI); (4) misappropriation of

   trade secrets in violation of the Defend Trade Secrets Act of 2016 (“DTSA”), 18 U.S.C. § 1836, et

   seq. (Count VII); and (5) misappropriation of trade secrets under the Virginia Uniform Trade Secrets
Case 4:17-cv-00454-GKF-JFJ            Document 201 Filed in USDC ND/OK on 11/09/18                    Page 2 of
                                                  7


   Act, Va. Code Ann. §§ 59.1-336 to 59.1-343 (Count VIII). In its Prayer for Relief, VGT requested

   declaratory relief, injunctive relief, damages, punitive damages, disgorgement of CHG’s profits, and

   attorneys’ fees and costs. VGT demanded a trial by jury on all counts.1 ECF No. 103.

           During the September 6, 2018, hearing on Defendants’ motion to compel discovery against

   Plaintiff before Judge Jayne, VGT expressly abandoned all claims for legal damages in this action,

   opting to instead limit its relief to disgorgement of CHG’s profits. VGT’s counsel represented to

   the Court, in response to a direct question concerning the scope of relief VGT is still seeking: “Yes,

   our only monetary relief we’re seeking is disgorgement of profits as well as attorneys’ fees.”

   September 6, 2018 Hearing Tr. at 35:10-13 (emphasis added), a true and correct copy of which is

   attached hereto as Exhibit A; see also id. at 44:17-24. See generally Defendants’ Motion in Limine to

   Exclude Evidence of Plaintiff’s Lost Revenue, Lost Profits, And Lost Profit Damages, ECF No. 151

   (under seal), at 1-3. This binding judicial admission is a deliberate, clear, and unequivocal waiver and

   abandonment of all of VGT’s legal damages claims. Id. at 4. Accordingly, all that is left (besides

   litigation expenses) are Plaintiff’s claims for injunctive relief and disgorgement of CHG’s profits –

   purely equitable remedies.

   II.     THE COURT SHOULD STRIKE PLAINTIFF’S JURY DEMAND

           For a civil litigant to demand a jury, it must have the right to one under either a federal

   statute or the Seventh Amendment. See Fed. R. Civ. P. 38(a). If neither source confers that right,

   the Court should strike any jury demand. See Fed. R. Civ. P. 39(a)(2). See, e.g., U.S. v. Walters, 2012

   WL 6681825 (N.D. Okla. Dec. 21, 2012) (striking jury demand over claim for breach of trust under

   Oklahoma law).




           1
             Defendants also made a jury demand, at a time before Plaintiff withdrew all claims for legal
   damages. In light of Plaintiff’s choice to seek only equitable relief, Defendants hereby withdraw
   their jury demand.


                                                       2
Case 4:17-cv-00454-GKF-JFJ              Document 201 Filed in USDC ND/OK on 11/09/18                     Page 3 of
                                                    7


           The first question under Rule 38(a) – whether a federal statute gives Plaintiff the right to a

   jury – requires little discussion. None of the statutes at issue either grant or deny the right to a jury

   under federal law.2 The question here thus turns on the Seventh Amendment. In determining

   whether a party has a right to a jury trial, the Tenth Circuit has outlined the standards under the

   Seventh Amendment as follows:

           The Seventh Amendment preserves the right of trial by jury in Suits at common law,
           where the value in controversy shall exceed twenty dollars.... [T]he Seventh
           Amendment applies to actions brought to enforce statutory rights that are analogous
           to common-law causes of action ordinarily decided in English law courts in the late
           18th century, as opposed to those customarily heard by courts of equity or admiralty.
           To determine whether a particular statutory action more closely resembles an 18th
           century case tried in a court of law or one tried in a court of equity, we must examine
           both the nature of the statutory action and the remedy sought. The more important
           factor is whether the remedy sought is legal or equitable in nature.

   Graham v. Hartford Life & Acc. Ins. Co., 589 F.3d 1345, 1355 (10th Cir. 2009) (emphasis added)

   (quoting Adams v. Cyprus Amax Minerals Co., 149 F.3d 1156, 1159 (10th Cir. 1998) (citations, internal

   quotations, and alterations omitted)).

           Plaintiff currently seeks an injunction and disgorgement of CHG’s profits under the Lanham

   Act, the Federal DTSA the Oklahoma Deceptive Trade Practices Act, the Oklahoma Uniform Trade

   Secrets Act, the Virginia Uniform Trade Secrets Act, and Oklahoma common law. As for injunctive

   relief, as the Supreme Court has observed, it “goes without saying that an injunction is an equitable

   remedy.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 311 (1982). Plaintiff therefore has no right to a

   jury for its request for injunctive relief.

           The law is equally settled in this Circuit that disgorgement of profits is an equitable remedy

   under the Lanham Act. In Klein-Becker USA, LLC v. Englert, an action for trademark infringement,

           2
             Although not a federal statute, it is noteworthy that the Oklahoma Deceptive Trade
   Practices Act actually explicitly provides that claims under the Act are to be tried in a court of equity.
   See 78 Okla. Stat. tit. 78 § 54(A) (2017) (“Any person damaged or likely to be damaged by a
   deceptive trade practice of another may maintain an action in any court of equitable jurisdiction to
   prevent, restrain or enjoin such deceptive trade practice.”) (emphasis added).


                                                        3
Case 4:17-cv-00454-GKF-JFJ               Document 201 Filed in USDC ND/OK on 11/09/18                           Page 4 of
                                                     7


   copyright infringement, false advertising, and unfair competition under the Lanham Act, the

   plaintiff, like VGT herein, elected to not seek recovery of actual damages, but, instead, sought

   disgorgement of profits. The Tenth Circuit expressly held “disgorgement of profits is an equitable

   remedy.” 711 F.3d 1153, 1157 (10th Cir. 2013) (citing Bishop v. Equinox Int’l Corp., 154 F.3d 1220,

   1222 (10th Cir. 1998) (quoting 15 U.S.C. § 1117(a))); id. at 1163 (“Courts have wide discretion to

   fashion appropriate equitable remedies such as disgorgement of profits.”).

            Similarly, in Fifty–Six Hope Road Music, Ltd. v. A.V.E.L.A., Inc., the Ninth Circuit examined

   the issue closely in finding no right to a jury over a disgorgement claim in another Lanham Act case:

            A claim for disgorgement of profits under § 1117(a) is equitable, not legal. Litigants filed
            trademark-like actions in “deceit” prior to 1791, but these suits were rare. See Mark
            A. Thurman, Ending the Seventh Amendment Confusion: A Critical Analysis of the Right to a
            Jury Trial in Trademark Cases, 11 Tex. Intell. Prop. L.J. 1, 60–63 (2002) (only three
            known cases prior to 1791 – two in courts of law, one in court of equity). While this
            historical record illuminates little, the current law recognizes that actions for disgorgement of
            improper profits are equitable in nature.

   778 F.3d 1059, 1075 (9th Cir. 2015) (emphasis added) (citing Chauffeurs, Teamsters & Helpers, Local

   No. 391 v. Terry, 494 U.S. 558, 570 (1990); Tull v. United States, 481 U.S. 412, 424 (1987); City of

   Monterey v. Del Monte Dunes at Monterey, Ltd., 526 U.S. 687, 710 (1999) (equitable monetary remedies

   focus on “what ... the [defendant] gained”); Reebok Int’l., Ltd. v. Marnatech Enters., Inc., 970 F.2d 552,

   559 (9th Cir. 1992) (“An accounting of profits under § 1117(a) is not synonymous with an award of

   monetary damages: [a]n accounting for profits ... is an equitable remedy subject to the principles of

   equity.” (internal quotation marks omitted)). See also United States v. Rapower–3, LLC, 294 F. Supp. 3d

   1238, 1240-41 (D. Utah 2018) (striking jury demand as “disgorgement is equitable and is not tried by

   a jury”) (citing id.).

            The Federal Circuit recently came to the same conclusion with respect to the newly enacted

   Federal Defend Trade Secrets Act. In Texas Advanced Optoelectronic Solutions, Inc. v. Renesas Electronics

   America, Inc., 895 F.3d 1304 (Fed. Cir. 2018), the Court conducted a thorough Seventh Amendment




                                                            4
Case 4:17-cv-00454-GKF-JFJ             Document 201 Filed in USDC ND/OK on 11/09/18                      Page 5 of
                                                   7


   analysis of a claim for disgorgement of profits under DTSA, id. at 1318-25, holding that the plaintiff

   “has no right to a jury decision on its request for disgorgement of [defendant’s] profits as a remedy

   for trade secret misappropriation.” Id. at 1325. As the Court explained:

           We see no basis for drawing a different conclusion for [plaintiff’s] request for
           disgorgement for trade secret misappropriation in this case, based on [defendant’s]
           improper taking and use of … intellectual property … For Seventh Amendment
           purposes, claims for patent, copyright, or trademark infringement are appropriate
           analogues of the trade secret claim here. From all we have seen, no disgorgement
           remedy was available at law in 1791 for the former claims. We conclude that no such
           remedy would have been available at law for the trade secret misappropriation here, either.

   Id. (emphasis added).

                                                CONCLUSION

           As VGT has no statutory or constitutional right to a jury trial in this action after voluntarily

   abandoning all of its claims for legal damages, the Court should strike plaintiff’s jury demand and

   schedule this matter for a non-jury trial.



   Dated: November 9, 2018                           Respectfully submitted,

                                                     /s/ Robert C. Gill
                                                     Robert C. Gill (admitted pro hac vice)
                                                     Henry A. Platt (admitted pro hac vice)
                                                     Thomas S. Schaufelberger (admitted pro hac vice)
                                                     Matthew J. Antonelli (admitted pro hac vice)
                                                     Jeremy B. Darling (admitted pro hac vice)
                                                     SAUL EWING ARNSTEIN & LEHR, LLP
                                                     1919 Pennsylvania Avenue, NW, Suite 550
                                                     Washington, D.C. 20006
                                                     (202) 295-6605
                                                     (202) 295-6705 (facsimile)
                                                     robert.gill@saul.com
                                                     henry.platt@saul.com
                                                     tschauf@saul.com
                                                     matt.antonelli@saul.com
                                                     jeremy.darling@saul.com




                                                         5
Case 4:17-cv-00454-GKF-JFJ   Document 201 Filed in USDC ND/OK on 11/09/18       Page 6 of
                                         7


                                       Sherry H. Flax (admitted pro hac vice)
                                       SAUL EWING ARNSTEIN & LEHR, LLP
                                       500 E. Pratt Street, Suite 900
                                       Baltimore, Maryland 21202
                                       (410) 332-8764
                                       (410) 332-8785 (facsimile)
                                       sherry.flax@saul.com

                                       James C. Hodges, OBA #4254
                                       JAMES C. HODGES, P.C.
                                       2622 East 21st Street, Suite 4
                                       Tulsa, Oklahoma 74114
                                       (918) 779-7078
                                       (918) 770-9779 (facsimile)
                                       JHodges@HodgesLC.com

                                       Counsel for Defendants




                                          6
Case 4:17-cv-00454-GKF-JFJ          Document 201 Filed in USDC ND/OK on 11/09/18                 Page 7 of
                                                7


                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 9th day of November, 2018, I caused a copy of the foregoing

   DEFENDANTS’ MOTION TO STRIKE JURY DEMAND to be emailed to the following

   counsel for Plaintiff:


   Graydon Dean Luthey, Jr.                           Gary M. Rubman
   GABLE GOTWALS                                      Peter Swanson
   1100 ONEOK Plaza                                   Michael Sawyer
   100 West Fifth Street                              Rebecca B. Dalton
   Tulsa, OK 74103-4217                               COVINGTON & BURLING LLP
   (918) 595-4821                                     One City Center
   (918) 595-4990 (facsimile)                         850 Tenth Street, NW
   dluthey@gablelaw.com                               Washington, DC 20001-4956
   Counsel for Plaintiff                              (202) 662-6000
                                                      (202) 778-5465 (facsimile)
   Neil K. Roman                                      grubman@cov.com
   COVINGTON & BURLING LLP                            pswanson@cov.com
   The New York Times Building                        msawyer@cov.com
   620 Eighth Avenue                                  rdalton@cov.com
   New York, NY 10018-1405                            Counsel for Plaintiff
   (212) 841-1221
   (212) 841-1010 (facsimile)
   nroman@cov.com
   Counsel for Plaintiff



                                                         /s/ Robert C. Gill
                                                           Robert C. Gill
